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                                                                 CLOSED, BKREF, ECF, REFERRED
                                 U.S. District Court
                    Southern District of New York (Foley Square)
                  CIVIL DOCKET FOR CASE #: 1:10−cv−06640−GBD
                                 Internal Use Only

Fairfield Sentry Limited ( In Liquidation) v. ABN AMRO       Date Filed: 09/07/2010
Schweiz AG et al                                             Date Terminated: 09/14/2010
Assigned to: Judge George B. Daniels                         Jury Demand: Plaintiff
Case in other court: State Court−Supreme, 650316−10          Nature of Suit: 195 Contract Product
Cause: 28:1332 Diversity: Notice of Removal                  Liability
                                                             Jurisdiction: Diversity
Plaintiff
Fairfield Sentry Limited ( In                  represented by Daniel Joseph SAval
Liquidation)                                                  Brown Rudnick Berlack Israels, LLP
                                                              (NYC)
                                                              Seven Times Square
                                                              New York, NY 10036
                                                              (212) 209−4905
                                                              Fax: (212) 938−2893
                                                              Email: dsaval@brownrudnick.com
                                                              ATTORNEY TO BE NOTICED

                                                             David J. Molton
                                                             Brown Rudnick Berlack Israels, LLP
                                                             (NYC)
                                                             Seven Times Square
                                                             New York, NY 10036
                                                             212−209−4800
                                                             Fax: 212−704−0196
                                                             Email: dmolton@brownrudnick.com
                                                             ATTORNEY TO BE NOTICED

                                                             Kerry Lauren Quinn
                                                             Paul, Weiss, Rifkind, Wharton &Garrison
                                                             LLP (NY)
                                                             1285 Avenue of the Americas
                                                             New York, NY 10019
                                                             (212)−373−3438
                                                             Fax: (212)−492−0438
                                                             Email: kquinn@brownrudnick.com
                                                             ATTORNEY TO BE NOTICED

                                                             May Orenstein
                                                             Brown Rudnick Berlack Israels, LLP
                                                             (NYC)
                                                             Seven Times Square
                                                             New York, NY 10036
                                                             (212) 209−4913
                                                             Fax: (212) 938−2809
                                                             Email: morenstein@brownrudnick.com
                                                             ATTORNEY TO BE NOTICED


V.
Defendant
ABN AMRO Schweiz AG

Defendant
Adler and Co.
10-03635-jpm
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Defendant
Privatbank AG

Defendant
Allianzbank SPA/Unifortune
Conservative Side Pocket

Defendant
Alternative Investment Strategies

Defendant
Arsenal SPC

Defendant
Arsenal SPC OBO Glasgow SEG Port

Defendant
Banca Arner SA

Defendant
Banca Unione di Credito

Defendant
Bank Hapoalim Switzerland Ltd.

Defendant
Bank Julius Baer &Co. Ltd.

Defendant
Bank Sarasin &Cie

Defendant
Banque Cantonale Vaudoise

Defendant
Banque Cramer &Cie SA

Defendant
Banque Safdie SA

Defendant
Barclay's Bank PLC Singapore Wealth

Defendant
BBH LUX Guardian II

Defendant
BBH LUX Ref Fairfield GRN

Defendant
BBVA (Suisse) SA

Defendant
BCV AMC Defensive Al Fund
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Defendant
BNP Paribas (Suisse) SA

Defendant
BNP Paribas (Suisse) SA Ex Fortis

Defendant
BNP Paribas (Suisse) SA Private

Defendant
BSI AG

Defendant
BSI Ex Banca Del Gottardo

Defendant
Caceis Bank Luxembourg

Defendant
CBB (BVI)/The Alkima Found

Defendant
CBT Gems Low Vol Reg

Defendant
Compagnie Bancaire Helvetique

Defendant
Centrum Bank AG (AMS)

Defendant
Fidulex Management Inc.

Defendant
Clariden Leu Ltd.

Defendant
Corner Banca SA

Defendant
Credit Suisse AG Zurich

Defendant
Dexia Banque International a
Luxembourg

Defendant
Dresdner Bank Schweiz

Defendant
EFG Bank SA Switzerland

Defendant
EFG Eurofinancier D'Invest MCL
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Defendant
Endurance Absolute Ltd. Master

Defendant
Fairfield Investment GCI

Defendant
Fairfield Investment Fund Ltd.

Defendant
Fairfield Masters Ltd.

Defendant
Falcon Private Bank

Defendant
FCL IFP Global Diversified CLS

Defendant
FIF Advanced Ltd.

Defendant
Finter Bank Zuirich

Defendant
Harmony Capital Fund Ltd.

Defendant
Ihag Handelsbank AG

Defendant
Incore Bank AG

Defendant
JP Morgan (Suisse) SA

Defendant
Karla Multistrategies Ltd.

Defendant
KBC Investments Ltd.

Defendant
LGT Bank in Liechtenstein AG

Defendant
Liechtensteinische LB Reinvest AMS

Defendant
Lloyds TSB Bank Geneva

Defendant
Lombard Odier Darier Hentsch &Cie
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Defendant
Longboat Ltd.

Defendant
Master Capital and Hedge Fund

Defendant
NBK Banque Privee Suisse SA

Defendant
Pictet &Cie

Defendant
PKB Privatebank AG

Defendant
Private Space Ltd.

Defendant
Quasar Funs SPC

Defendant
RBC Dexia Investor Service Julius
Baer Sicav

Defendant
RBS Coutts Bank Ltd.

Defendant
Richourt AAA Multistategies

Defendant
Rothschold Bank AG Zurich (Dublin)

Defendant
Rothschild Bank Geneva (Dublin)

Defendant
Rothschild Lugano Dublin

Defendant
Sella Bank AG

Defendant
SIS Seeganintersettle

Defendant
Six SIS Ltd.

Defendant
Societe Generale Bank &Trust

Defendant
Soundview Fund
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                                    Pg 6 of 7
Defendant
Springer Fund of Funds Ltd.

Defendant
Swisscanto FD Centre Clients A/C

Defendant
T1 Global Fund Ltd.

Defendant
Teorema Alternative Strategies

Defendant
UBS AG New York

Defendant
UBS AG Zurich

Defendant
UBS Jersey Nominees

Defendant
Verwaltungs und Privat−Bank AG
Aktiengesellschaft (AMS)

Defendant
Vorarlberger Landes Und
Hypothekenbank Ankiengesellscharft
and Beneficial Owners of the Accounts
held in the name of CGC (NA) 1−1000


 Date Filed      #      Docket Text
 09/07/2010          1 NOTICE OF REMOVAL from Supreme Court, County of New York. Case
                       Number: 650316−10. (Filing Fee $ 350.00, Receipt Number 913744).Document
                       filed by Fairfield Sentry Limited ( In Liquidation).(rdz) (Additional attachment(s)
                       added on 9/20/2010: # 1 Exhibit A, # 2 Exhibit A part 2, # 3 Exhibit B) (ama).
                       (Entered: 09/10/2010)
 09/07/2010             CASE REFERRED TO Judge Victor Marrero as possibly related to 09−cv−5650.
                        (rdz) (Entered: 09/10/2010)
 09/07/2010             Case Designated ECF. (rdz) (Entered: 09/10/2010)
 09/07/2010          2 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. No Corporate Parent.
                       Document filed by Fairfield Sentry Limited ( In Liquidation).(rdz) (ama). (Entered:
                       09/10/2010)
 09/07/2010          3 DEMAND for Trial by Jury. Document filed by Fairfield Sentry Limited ( In
                       Liquidation)(rdz) (ama). (Entered: 09/10/2010)
 09/07/2010          5 DUPLICATE ORIGINAL ORDER REFERRING CASE to Bankruptcy Court as
                       related to Bankruptcy Court Case No. 10−13164 (BRL). Pursuant to Section 157(a)
                       of the Bankruptcy Amendments and Federal Judgeship Act of 1984, any or all
                       cases under title 11 and any or all proceedings arising under title 11 or arising in or
                       related to a case under title 11 are referred to the bankruptcy judges for this district.
                       (See M−10−468 Order Dated July 11, 1984) (Signed by Judge Robert J. Ward on
                       7/10/84) (laq) (Entered: 09/16/2010)
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 09/14/2010     4 NOTICE OF CASE ASSIGNMENT to Judge George B. Daniels. Judge
                  Unassigned is no longer assigned to the case. (ldi) (Entered: 09/14/2010)
 09/14/2010        Magistrate Judge James C. Francis IV is so designated. (ldi) (Entered: 09/14/2010)
 09/14/2010        CASE TRANSFERRED OUT from the U.S.D.C. Southern District of New York to
                   the United States Bankruptcy Court − Southern District of New York on 9/16/10.
                   (laq) (Entered: 09/16/2010)
 09/16/2010        ***NOTE TO ATTORNEY TO E−MAIL PDF. Note to Attorney Kerry Lauren
                   Quinn for noncompliance with Section (14.3) of the S.D.N.Y. Electronic Case
                   Filing Rules &Instructions. E−MAIL the PDF for Document 3 Jury Demand, Case
                   Referred as Possibly Related/Similar, 2 Rule 7.1 Corporate Disclosure Statement, 1
                   Notice of Removal to: case_openings@nysd.uscourts.gov. (laq) (Entered:
                   09/16/2010)
 09/20/2010        ***NOTE TO ATTORNEY TO E−MAIL PDF. Note to Attorney Daniel Joseph
                   SAval for noncompliance with Section (14.3) of the S.D.N.Y. Electronic Case
                   Filing Rules &Instructions. E−MAIL the PDF for Document 2 Rule 7.1 Corporate
                   Disclosure Statement, 1 Notice of Removal to: case_openings@nysd.uscourts.gov.
                   (ama) (Entered: 09/20/2010)
